Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 1 of 34




       Exhibit 22
               Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 2 of 34




                                             STROZ FRIEDBERG




                                   Prepared for
                                   Morrison & Foerster LLP
                                   0' Melveny & Myers LLP


                                   Prepared by
                                   Stroz Friedberg


                                   August 5, 2016


                                   Summary Report
                                   Project Unicorn Inv estigation




                                   PRIVILEGED & CONFIDENTI AL
                                   ATTORNEY WORK PRODUCT

                                   OUTSIDE COUNSEL & A TTORNEYS-EYES-ONLY




CONFIDENTIAL                                                                         UBER00312450
                  Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 3 of 34




           TABLE OF CONTENTS
           I.     Scope of Engagement... ....... ...... ..... . ... .............................. ............................................... .                                .3
           II.    Procedural History ........... .. .... ................. ...                   ............. ..................... ........ ...... ........... ........ ....... 3
           Ill.   Methodology ...... ...... .........                                                            ............... ........... .                                  . .... 5
                  A      Interviews ........................... ............. ......... ....              ...................... .............. .                           .......... 5

                  B.     Digital Forensics Preservation, Data Collection and Review                                                                                              .... 6
                  C.     Document Review .. ...... ... ...                         ......................................................... ................................ 7
                  D.     Investigation of Levandowski's Disposal of Google Documents.... .... ... ............................. 7
           IV.    Summary of Pertinent Findings Regarding the Diligenced Employees .... ................................. ......... 8
                  A      Anthony Levandowski ..................................... .............. .................... .......... .. ...................... ... ...... 8
                         1.       Interview and Investigation ... .... .. ....... ...... .. ..                                    ...... ........... ..... .......... ...           .8

                         2.       Forensic Examination of Devices............... ..                                               . ..................... ... ... ........ 11

                         3.       Documents Identified During Stroz Friedberg's Review                                                                                          ... 14

                  B.     Lior Ron ....                                                                                                                                         . ... 17
                         1.       Interview and Investigation                                                                                                                  .... 17

                         2.       Forensic Examination of Devices ............... .........                                       ····························· ····· ........ 19
                         3.       Documents Identified During Stroz Friedberg's Review                                                                                      ........ 21

                  C.     Don Burnette ....... ...... .. ..... . ............................. .................. ...                                                            ... 24

                         1.       Interview ..... ......................... ..... ............................................... . ................................ .. ...... 24

                         2.       Forensic Examination of Devices.                                                                                  ·················· ........ 25

                         3.       Documents Identified During Stroz Friedberg's Review                                                                                       ...... 26

                  D.     Soren Juelsgaard                                                                                                                                   ........ 27
                         1.       Interview ........... .                                                                                                                   ........ 27

                         2.       Forensic Examination of Devices ............... .                            ····· ····· ······ · ············· ······ ··· ·········· · ........ 28

                         3.       Documents Identified During Stroz Friedberg's Review ....... ........................................... 29

                  E.     Colin Sebern ........ .... ...... .. ...... ............                ............. ............ ...... ... .. ............. ... ................. .... 30

                         1.       Interview                                                                                                                                 ........ 30

                         2.       Forensic Examination of Devices                                                                                                              . ... 31

                         3.       Documents Identified During Stroz Friedberg's Review                                                                                      ........ 32




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY


CONFIDENTIAL                                                                                                                                                                          UBER00312451
                   Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 4 of 34
           PRIVILEGED AND CONFIDENTIAL




           I.      SCOPE OF ENGAGEMENT
          In March 2016, Stroz Friedberg was retained to conduct an independent investigation, under the direction
          and supervision of Morrison & Foerster LLP ("Morrison") and O'Melveny & Myers LLP ("O'Melveny"), on
          behalf of their respective clients Uber, Inc. ("Uber") and Ottomotto LLC ("Otto motto"). Stroz Friedberg was
          tasked with investigating whether or not certain ottomotto employees - Anthony Levandowski
          ("Levandowski"), Lior Ron ("Ron"), Don Burnette ("Burnette"), Soren Juelsgaard ("Juelsgaard"), and Colin
          Sebern ("Sebern") (collectively, the "Diligenced Employees") engaged in the following:

                       a) took with them or retained confidential and/or proprietary information from their former
                          employer, Google, Inc. ("Google"), that might be relevant to counsel's determination that one
                          or more of the Diligenced Employees may have violated their confidentiality agreements with
                          Google; and
                       b) participated in actions that might be relevant to counsel's determination whether one or more
                          of the Diligenced Employees breached their non-solicitation, non-compete, or fiduciary
                          obligations in connection with their move to Ottomotto.

          The scope of the investigation included conducting a series of interviews of the Diligenced Employees,
          forensically preserving 28 devices and 25 cloud-based repositories of data belonging to the Diligenced
          Employees, extracting user-created data from the devices, forensically downloading the data in the cloud-
           based repositories, processing the culled data into an electronic review platform, reviewing the documents
           in that platform, and conducting other investigative interviews.


           II.     PROCEDURAL HISTORY
          The original parameters of the investigation were dictated by a protocol entered into among Stroz Friedberg,
          Uber and Morrison, and Ottomotto and O'Melveny on or about March 21, 2016 (the "March Protocol,"
          attached as Exhibit 1). 1 Stroz Friedberg also entered into two side letters, dated March 14 and 21, 2016,
          with John Gardner, counsel for Levandowski, which are attached as Exhibits 2 and 3, respectively. In these
          side letters, Stroz Friedberg agreed to not distribute to counsel for Uber and Ottomotto any Google
           information or data that Levandowski provided or we discovered during the investigation, except as
           specified in the March Protocol.

           In April 2016, in the lead-up to Uber's signing of an agreement to purchase Ottomotto, and long before the
           investigation was completed, Morrison asked Stroz Friedberg to provide it with visibility into Stroz
           Friedberg's preliminary fact-finding and forensic analyses on a number of subjects. Specifically, Morrison
           sought access to: (a) Stroz Friedberg's memoranda regarding Stroz Friedberg's interviews of Levandowski
           and Ron, as well as the other Diligenced Employees; (b) forensic metadata and last access reports
           pertaining to all of the Diligenced Employees' devices; (c) last access reports with high-level descriptions
           of data Levandowski identified as Google data in the course of his interview (the "Self-Identified Data"); 2



           1
                All of the Exhibits referenced herein are included in an Appendix to this report
           2   The reports Stroz Friedberg previously produced to counsel are included as Exhibits 5-16 in the Appendix.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                         3                               ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                                 UBER00312452
               Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 5 of 34
           PRIVILEGED AND CONFIDENTIAL



           and (d) an oral report of Stroz Friedberg's preliminary fact-finding pertaining to the disposal of certain
           Google data in March 2016 that Levandowski realized he had retained.

           In April 2016, Stroz Friedberg previewed the requested data to O'Melveny and Gardner, who consented in
           e-mails and orally to the interim reporting on the condition that the interview memoranda be redacted in
           certain respects. Stroz Friedberg provided to Morrison the requested interim reporting, including the
           redacted interview memoranda. Thereafter, Stroz Friedberg continued its investigation.

           On or about April 12, 2016, Stroz Friedberg delivered to Morrison, O'Melveny, and Gardner a revised
           investigation protocol (the "April Protocol," which was dated "As of March 4, 2016"). That revised protocol,
           attached as Exhibit 4, made explicit that Stroz Friedberg could issue interim reports and clarified that
           Morrison and O'Melveny were supervising the investigation and making all legal determinations, among
           other things. Gardner refused to sign the revised protocol on behalf of Levandowski.

           With respect to the review and ultimate production to Morrison and Uber of documents and devices provided
           to Stroz Friedberg by the Diligenced Employees, the April Protocol provided as follows:

                At any time during, or at the end of, its investigation, if Stroz Friedberg believes that non-
                privileged, relevant documents or communications - whether active, deleted, or fragments -
                should be shared with O'Melveny and Morrison, it will first place those documents in a folder
                (the "Proposed Disclosure Folder") on Stroz Review for review by O'Melveny, Donahue, and
                Levine but shall not provide Morrison access to the Proposed Disclosure Folder. If O'Melveny,
                Donahue, and/or Levine claims that any of the documents subject to proposed disclosure are
                subject to attorney-client privilege, attorney work-product privilege, or other restriction on
                disclosure, O'Melveny, Donahue, and/or Levine will produce privilege logs to Morrison regarding
                such documents, and Stroz Friedberg will, unless and until the documents are cleared for
                disclosure by O'Melveny, Donahue, or Levine, remove the documents from the Proposed
                Disclosure Folder. In addition, if O'Melveny, Donahue, and/or Levine identify any documents in
                the Proposed Disclosure Folder to be "outside counsel-eyes-only" or "attorneys-eyes-only" (as
                such terms are defined below), Stroz Friedberg will move those documents to an outside
                counsel-eyes-only or attorneys-eyes only folder. Upon receiving written authorization from
                O'Melveny, Donahue, or Levine and only upon receiving such authorization, Stroz Friedberg will
                make the Proposed Disclosure Folder and the outside counsel-eyes-only or attorneys-eyes-only
                folder available to Morrison. If the Clients agree that Unicorn executives should have access to
                the Proposed Disclosure Folder, Stroz Friedberg will arrange for such access. Unicorn
                executives will not have access to the outside counsel or attorneys-eyes-only folder. Stroz
                Friedberg will not create for Unicorn executives user credentials that have access to the outside
                counsel or attorneys-eyes-only documents. Morrison attorneys will not give to Unicorn
                executives credentials to, or otherwise give access to the documents in, the outside counsel or
                attorneys-eyes only folder. The only documents and communications that Stroz Friedberg's
                independent report will rely on or reference will be documents contained in the approved
                Proposed Disclosure Folder, except to the extent that privileged communications contain
                substantive content that is relevant, in which case Stroz Friedberg may reference such
                substantive content in a manner that the parties mutually agree (or an arbitrator, if the parties
                cannot agree, determines) reasonably addresses the parties' respective concerns. Stroz
                Friedberg will issue its final report reflecting the materials contained in the Final Disclosure
                Folder only upon written authorization from both O'Melveny and Morrison.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                4                               ©2016 Stroz Fnedberg All nghts reserved



CONFIDENTIAL                                                                                                                    UBER00312453
                  Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 6 of 34
           PRIVILEGED AND CONFIDENTIAL



          While counsel for Levandowski refused to sign onto the April Protocol, the parallel provision in the March
          Protocol was comparable.

           A first-level review produced: over 100,000 potentially relevant documents, e-mails, chats, and text
           messages extracted from the Diligenced Employees' computers, web-based e-mail and data repositories,
           and mobile devices; 3 over 7 4,000 potentially relevant pictures; and over 176,000 source code files.

           In July 2016, given the large number of potentially relevant items, Stroz Friedberg performed a second-
           level review of those items. With the consent of Uber, Ottomotto, and the Diligenced Employees, this was
           not a document-by-document review of every potentially relevant item. Rather, Stroz Friedberg focused on
           attempting to identify exemplary or important documents pertaining to confidential Google information that
           had been retained or deleted, the solicitation of Google employees, or other potential breaches of fiduciary
           duties owed by the Diligenced Employees to Google. The methodologies used in this limited second-level
           review, included reviewing some documents, prioritizing search results from terms that yielded fewer false
           positives, running new search terms, and following file paths to folders of particular interest In July and
           August 2016, Stroz Friedberg populated many of the results of this second-level review - and all of the
           documentary Exhibits to this report - into Proposed Disclosure Folders on the Stroz Friedberg Relativity
           platform, to which the Diligenced Employees' counsel were given access in order to code each document
           pursuant to the April Protocol.

           In August 2016, counsel for the Diligenced Employees all consented to Stroz Friedberg producing this
           report on an outside counsel and attorneys-eyes-only basis, meaning that the report could be published by
           Stroz Friedberg to Morrison, O'Melveny, Donahue Fitzgerald LLP (counsel for Levandowski), Levine &
           Baker LLP (counsel for Ron), and in-house counsel at Uber and Ottomotto.

          This report reflects Stroz Friedberg's methodology and findings based on the interviews of the Diligenced
          Employees, the device and web repository forensics, the review of documents and field interviews.


           Ill. METHODOLOGY

                   A.   INTERVIEWS

           As part of its investigation, Stroz Friedberg separately interviewed each Diligenced Employee at our offices
           located at 101 Montgomery Street, Suite 2200, San Francisco, CA 94104. In advance of these interviews,
           Stroz Friedberg prepared questionnaires for each Diligenced Employee to complete. These questionnaires
           are included as exhibits to the Diligenced Employees' interview memoranda. Stroz Friedberg distributed
           drafts of the memoranda of the Levandowski and Ron interviews to their respective counsel. While counsel
           reserved their clients' rights with respect to accuracy, neither objected to any particular findings.




           3   For chat data, Relativity extracts each sent and received component in a chat as a separate object Accordingly, the
               number of objects vastly exceeds the number of chat strings.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                       5                                 ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                                 UBER00312454
                   Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 7 of 34
           PRIVILEGED AND CONFIDENTIAL



          The dates of the Diligenced Employees' interviews are as follows:


               •    Anthony Levandowski (March 22 and 23, 2016). Redacted interview memorandum and exhibits
                    attached as Exhibit 5;
               •    Lior Ron (March 22, 2016). Redacted interview memorandum and exhibits attached as Exhibit 6;
               •    Don Burnette (March 23, 2016). Redacted interview memorandum and exhibits attached as
                    Exhibit 7;
               •    Soren Juelsgaard (March 24, 2016). Redacted interview memorandum and exhibits attached as
                    Exhibit 8; and
               •    Colin Sebern (March 24, 2016). Redacted interview memorandum and exhibits attached as
                    Exhibit 9.

                   B.   DIGITAL FORENSICS PRESERVATION, DATA COLLECTION AND REVIEW

           Stroz Friedberg forensically collected 53 computers, tablets, smartphones, thumb drives, webmail
           accounts, and other cloud-based repositories from the Diligenced Employees (hereinafter, the "In-Scope
           Digital Media") and loaded and processed the active (i.e., non-deleted) user-created documents and
          communications into Stroz Friedberg's Relativity platform for review. Stroz Friedberg also analyzed in its
          forensic laboratory deleted files and forensic fragments from the unallocated space and the host-controlled
          area of the media, to the extent applicable, for relevant information.

          With respect to the computers, beyond looking for potentially relevant documents, Stroz Friedberg also
          analyzed connections to removable media and cloud-based repositories to determine whether Google data
          was transferred via either of those methods. Stroz Friedberg analyzed the removable media produced by
          the Diligenced Employees and matched those items by serial number to the records in the Diligenced
          Employees' computers showing connections to removable media to verify that the production of removable
           media was complete. Stroz Friedberg also analyzed the removable media to determine whether Google
           media had been transferred from one device to another. With respect to smartphones, Stroz Friedberg
           looked for web repository applications (e.g., Dropbox) and analyzed phone-based databases for
           connections to web repositories to determine whether Google data was transferred to the cloud.

           In the Relativity platform, Stroz Friedberg applied a set of keywords (see discussion below) to the harvested
           documents. The same key words were applied by forensic examiners to the deleted files, the unallocated
           space, and the host controlled area, as applicable. Stroz Friedberg used a team of engagement managers
           (who are former lawyers and prosecutors), forensic examiners, and cyber associates experienced in
           conducting investigations to perform first and second level reviews after keywords were applied. Over 1.5
           million files were harvested or downloaded from devices and cloud-based repositories and processed into
           Relativity.

          Where a Relativity-based review was infeasible (e.g. source code, picture files, video files, unallocated
           space keyword search hits), Stroz Friedberg staff manually reviewed the harvested data.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                6                               ~20 1 6   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                         UBER00312455
                 Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 8 of 34
           PRIVILEGED AND CONFIDENTIAL



                  C.   DOCUMENT REVIEW
           In accordance with the above-referenced Protocols agreed to by the parties, Stroz Friedberg (1)
           processed/assessed over 1.5 million files into Relativity, identifying over 400,000 documents for further
           review; (2) reviewed over 47 gigabytes of Cellebrite data from the Diligenced Employees' mobile devices;
           (3) reviewed over 24,000 individual Google Chat messages ("Gchat messages"); (4) reviewed over 200,000
           photos/videos; and e) identified over 176,000 source code files. 4

           Stroz Friedberg developed search criteria to search the In-Scope Digital Media. In doing so, Stroz
           Friedberg, at the direction of the parties, applied its understanding of the goal of the investigation and the
          knowledge gained during its interviews with the Diligenced Employees to develop a list of proposed search
          terms for each Diligenced Employee. Stroz Friedberg then distributed the proposed search criteria lists to
          O'Melveny, Donahue, and Levine. O'Melveny, Donahue, and Levine thereafter reviewed the search terms
          and designated any proposed search terms which should not be shared with Morrison because the terms
          themselves could convey confidential Google information. Stroz Friedberg then distributed to Morrison a
          list that contained only the search terms approved by O'Melveny, Donahue, and Levine for Morrison's final
          input and approval. Stroz Friedberg used the resulting search terms as part of its review of the documents
          harvested from the In-Scope Digital Media and its forensic review of the media.

           Using search criteria provided by the parties and technology-aided-review tools, Stroz Friedberg then
           sought to identify and exclude documents that were potentially privileged from the relevant set Stroz
           Friedberg thereafter sought to identify documents potentially relevant to the investigation for further legal
           review by counsel, as prescribed by the Protocol, by using investigative techniques and a range of industry
           standard analytical tools and e-Discovery technologies. A detailed outline of the multi-faceted, tiered
           approach Stroz Friedberg undertook to take reasonable, proportionate, and effective measures to evaluate
           and triage the large volumes of data received in this matter is attached hereto as Exhibit 22.

          Applying the above-referenced methodology, Stroz identified the following potentially relevant documents
          in its first-level review: (1) approximately 33,752 documents/files in Relativity; (2) approximately 68,111
          Cellebrite documents/files; (3) approximately 1,134 Gchat messages; (4) approximately 7 4,847 pictures;
          and (5) approximately 176,803 source code files. After the second-level review, Stroz Friedberg foldered
          for outside counsel review 1,383 files in Relativity, including 69 Gchat messages and approximately 534
          pictures. Since the source code files could not be identified further as either pertaining or not pertaining to
          Google, there was no second-level review of the source code files.

                  D.   INVESTIGATION OF LEVANDOWSKI'S DISPOSAL OF GOOGLE DOCUMENTS

          During Stroz Friedberg's interview of Levandowski, he stated that in March 2016, while searching his home
          to gather all devices for this investigation, he discovered that he possessed Google proprietary information
          on five disks in his Drobo 50, which was located in a closet he used to store old and unused devices. The
          proprietary information included source code, design files, laser files, engineering documents, and software
          related to Google self-driving cars. In his interview with Stroz Friedberg, Levandowski stated that he
          destroyed the disks at a commercial shredding facility in Oakland, California Levandowski provided Stroz
          Friedberg with the Drobo 50, but, as expected, it contained no media and there was nothing to analyze.


          4
              Soren Juelsgaard possessed the majority of the source code on his devices: 174,311 files.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                     7                                    ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                                  UBER00312456
               Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 9 of 34
           PRIVILEGED AND CONFIDENTIAL



          Thereafter, Stroz Friedberg conducted an independent investigation to attempt to verify the destruction of
          the disks. The details of this investigation are described more fully below and a copy of this investigative
           memo is attached as Exhibit 23.


           IV. SUMMARY OF PERTINENT FINDINGS REGARDING THE DILIGENCED
               EMPLOYEES
          The following are summaries of Stroz Friedberg's findings for each Diligenced Employee.

                A.   ANTHONY LEVANDOWSKI

                     1. INTERVIEW AND INVESTIGATION

           On March 22 and 23, 2016, Stroz Friedberg interviewed Levandowski. Levandowski worked at Google from
           April 9, 2007 to January 26, 2016. In 2011, he was promoted to Engineering Manager of the Chauffeur
           Project, where he remained until he left the company. During his interview, Levandowski informed Stroz
           Friedberg that he: (a) possessed Google information; (b) met with a number of Google employees about
           joining his start-up company; (c) met with Uber executives, while employed at Google, about forming a new
           company; and (d) destroyed highly confidential Google proprietary information he had stored on five disks
           on his personal Drobo 50, including source code, files, and software pertaining to self-driving cars. Exhibit
           5 is Stroz Friedberg's memorandum of Levandowski's interview.

                         Retained Google Information or Data

           During the interview, Levandowski identified the following locations where Google-related data and
           information were stored on his personal laptop, an Apple MacBook Pro (a) in two folders labeled
           "Chauffeur" and "Google;" (b) a Dropbox folder; and (c) the Downloads folder. He did not recall when he
           last accessed these folders, and he seemed surprised at the amount of Google-related information that
          was on his laptop. In addition, during the interview, Levandowski initially told us that he did not sync up his
          Google mail with this laptop, but then he looked at his laptop and, to his apparent surprise, discovered that
          he had synced his Google e-mail (anthonyl@google.com) with his laptop in 2014. Accordingly, his laptop
          contained a snapshot of his Google e-mail as of the date of the sync on September 20, 2014. Levandowski
          informed Stroz Friedberg that he also had other Google-related information stored on his laptop, such as
          vendor sheets, presentations, and manuals, some of which may have been publically known.

          Levandowski explained that he used his personal laptop and devices, as well as his company devices, to
          access Google Docs, and that he stored Google data and documents on his personal devices as well in
          the normal course of his work at Google. He also said it was common practice to share work files via
           Dropbox. He stated that, in addition to his personal laptop, he also stored Google documents on his phone
           and various hard drives and thumb drives.

                         Transferred Google Information or Data

           Levandowski also acknowledged that in the normal course of business at Google he e-mailed Google files
          to his personal webmail account at levandowski@gmail.com, but that to his recollection these files were
          mainly presentations or other information to be shared publically and not technical or proprietary
          information. He also indicated that in the normal course of business he used USB drives to transfer data




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                8                                ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                         UBER00312457
               Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 10 of 34
           PRIVILEGED AND CONFIDENTIAL



           from his desktop to the self-driving cars that his teams were working on, but stated that he returned all of
           the Google USB drives and destroyed all of the personal USB drives in his possession because he heard
           they might contain spyware. He further stated that the information likely to have been on the destroyed USB
           drives included trade show information, vendor sheets, and Google files he may have been moving.

                             Contacted Gooqle Employees about His Start-Up Company

           While employed at Google, Levandowski had a number of one-on-one meetings and four group meetings
           with several Google/Chauffeur employees about joining his start-up company. The one-on-one meetings
           occurred at work with over 20 Google/Chauffer employees (during individual update meetings or around
           the Google campus), coffee shops, restaurants, homes, or telephonically. There were also four group
           meetings, two of which occurred with small groups of Google and/or Chauffeur employees at a barbeque
           at Levandowski's house and on a ski trip to Lake Tahoe. Two larger group meetings took place at
           Levandowski's house in approximately December 2015 and January 2016. 5 These meetings included
           approximately 15 to 20 Google and non-Google employees. The first large group meeting, in December
           2015, was primarily organized by word of mouth and approximately half of the attendees were Google
           employees. They discussed the new business and Ron gave a short presentation regarding robotic trucks.
           The second large meeting took place at Levandowski's home, just prior to his resignation from Google on
           January 26, 2016. This meeting was organized by a Chauffeur team employee who sent Calendar invites
           to Google employees at their work e-mail addresses. To the best of Levandowski's recollection,
           approximately 10 of the attendees were Google employees. According to Levandowski, at this meeting they
           discussed an exit strategy from Google and actively encouraged the employees to leave Google.

           Offers of employment were made to at least 15 Chauffeur team employees by Levandowski and/or his
           Ottomotto team before and after his departure from Google. According to Levandowski, as of the dates of
           his interview on March 22 and March 23, 2016, Ottomotto had approximately 30 employees, 16 of whom
           were former Google employees.

           Following his departure from Google, Levandowksi stated that a number of Google employees reached out
           to him about joining ottomotto. Levandowski said he had no discussions with these individuals about
           Ottomotto, unless they had already resigned from Google. He claimed that he has made it a point since his
           departure from Google to have no contact with any Google applicants until after they are hired by Otto motto.

                             Met with Uber Executives While Employed at Gooqle

           According to Levandowski, beginning in June 2015, while working at Google, he began to have meetings
           and conversations with various Uber executives, including Jeff Holden, Brian McClendon, Cameron
           Poetzscher, Nina Qi, and Travis Kalanick. At one point, Levandowski said that he asked Brian McClendon,
           who left Google to join Uber, how much Uber would be willing to pay for the Chauffeur team, claiming he
           wanted to have a market value for the team. According to Levandowski, these meetings progressed from
           September to December 2015, and escalated from Uber being a customer for after-market car kits to it
           acquiring Levandowski's start-up company. Levandowski said there were several text messages with the
           above-referenced individuals and over 200 messages to and/or from Kalanick. Levandowski acknowledged


           5 The   Google employees Levandowski recalls meeting with, or attending these meetings, are outlined in his unredacted
            interview memorandum, which Vvas produced to his counsel for review.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                      9                                 ©2016 Stroz Fnedberg All nghts reserved



CONFIDENTIAL                                                                                                                            UBER00312458
                 Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 11 of 34
           PRIVILEGED AND CONFIDENTIAL



           that his research at Uber will involve delivering lasers, deploying vehicles, and building after-market kits for
           cars, but emphasized that he did not intend to rely on any information or data from Google.

                            Destroyed Personal Drobo Disks with Confidential Gooqle Information

           While searching his home for anything Google-related a few weeks after his departure from Google on
           January 26, 2016, Levandowksi stated that he discovered various equipment in his garage, including some
           tools, pieces of aluminum, robot parts, old Street View test prototype cameras, and brackets to mount
           cameras on cars. Just prior to his interview, Levandowski had a destruction company (whose name he
           could not recall) pick up the items and destroy them.

           In addition, Levandowksi stated that he discovered that he possessed Google proprietary information on
           five disks in his personal Orobo 50 in a closet in his house. This information included source code, design
           files, laser files, engineering documents, and software related to Google self-driving cars. He said that he
           downloaded this information in the ordinary course of business while at Google and that the last time he
           accessed the information was between November 2014 and January 2015. Levandowski said that he
           copied the software onto the disks off of his personal Apple MacBook Pro. He stated that this was a common
           practice because the code on the disks would be inserted into the prototype driver-less cars to enable them
           to operate. He stated that he stored the disks in his personal Orobo 50 device. 6 He said that upon realizing
           he still had the disks, he immediately informed his attorney and brought this information to Uber's attention
           at a regularly scheduled status meeting in mid-March 2016. He stated that he could not recall the specific
           date of that meeting, but Stroz Friedberg was later informed by Morrison that the date of this meeting was
           March 11, 2016. At the meeting, Poetzscher instructed Levandowski not to destroy the disks and to
           preserve them for record keeping purposes. Levandowski stated that Kala nick wanted nothing to do with
           the disks and told Levandowski to "do what he needed to do." Levandowski said that following the meeting
           he brought the disks to a shredding facility in Oakland, later identified as Shred Works, and watched the
           disks as they were shredded. He stated that he paid cash and did not receive a receipt.

           Stroz Friedberg investigators visited Shred Works on April 4 and 6, 2016, and spoke to its office manager
           telephonically on April 11, 2016, to try to confirm Levandowski's account. Stroz Friedberg investigators
           showed the employees a picture of Levandowski, but no one recognized him. In addition, the investigators
           were informed that all destructions are recorded on a triplicate, carbon-copy receipt that includes the name
           of the Shred Works' employee assisting the customer, the date, the time, a description of the service, and
           the method and amount of payment. The customer is then asked to sign the receipt and is given the top
           white copy. A manager for Shred Works reviewed the receipts for March 2016, and, in particular March 11,
           2016, the date of Levandowski's meeting with Uber, but could not find one signed by Levandowski.' She
           did, however, find a receipt dated March 14, 2016 that indicated that five disks were destroyed and paid for
           in cash. The signature on the receipt was illegible.

           In a deleted iMessage from Levandowski to an unknown recipient on March 11, 2016, Levandowski states,
           "I'll clean that shit out." See Exhibit 24. A few days later, on March 13, 2016, in another deleted iMessage



           6   Evidence suggests that Levandowski's Drobo 50 Vvas being used to back up his MacBook Pro.
           7   Stroz Friedberg investigators provided Shred Works with examples of Levandowski's signatures that they obtained
               when Levandowski signed the chain of custody forms related to his devices.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                    10                                ©2016 Stroz Fnedberg All nghts reserved



CONFIDENTIAL                                                                                                                          UBER00312459
               Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 12 of 34
           PRIVILEGED AND CONFIDENTIAL



          from Levandowski to an unknown recipient, Levandowski states "We're ready for junk King." See Exhibit
          25. Junk King is a junk disposal service. It is unclear whether these messages are related or unrelated to
          the Drobo 50 disks. As set forth below, Stroz Friedberg has identified a number of communications that
          show that Levandowski and his colleagues were familiar with and did use Shred Works from time to time.


          The interviews of Shred Works' employees and the Shred Works' documents do not confirm Levandowski's
          contention that he took the five disks to Shred Works on the same day as his meeting with Uber, which was
          March 11, 2016. Levandowski is fairly recognizable, and Stroz Friedberg's interviews were conducted not
          long after the alleged event No one recognized him as having appeared on March 11, 2016 or any other
          date. The March 14, 2016 receipt for the destruction of five disks could better support the proposition that
          the disks were destroyed at Shred Works on a day later than Levandowski recalls, but there is no way to
          connect that receipt to Levandowski or the five Levandowski disks at issue. A copy of Stroz Friedberg's
          investigative report regarding Levandowski's five Drobo 50 disks is attached as Exhibit 23.

                     2. FORENSIC EXAMINATION OF DEVICES
                         Retained, Accessed, or Transferred Goog/e Information or Data

           Our forensic examination of Levandowski's devices and accounts corroborates his assertion that he stored
           and accessed Google files on his personal laptop in folders labeled "Chauffeur" and "Google." However,
           contrary to his belief that there were no or few Google e-mails on his laptop, Stroz discovered approximately
           50,000 Google work e-mail messages that were downloaded onto Levandowski's computer on September
          20, 2014. Ten of those e-mails were last accessed between September 1, 2015 and January 28, 2016. It
          is difficult to believe that Levandowski was not, prior to his interview, fully aware of the extent of the data
          that he had retained.

           Most of the 10 e-mails referenced above were acceptances of Calendar invitations for internal "Chauffer"
           meetings that included a list of other Google employees who were invited to the meetings. The remaining
           e-mails contained (a) a link to what appears to be one of Levandowski's Google Non-Disclosure
           Agreements; (b) handwritten notes and a drawing related to a "gimbal setup;" (c) an e-mail from the
           Chauffer-laser@google.com, which contains links to what appear to be Chauffer-related pictures; (d) an e-
           mail string with a California Department of Transportation research official regarding taking a test drive in,
           presumably, a Google self-driving car; and (e) a brief e-mail with Dmitri Dolgov regarding the timeframe for
           laser development The 10 e-mails are attached hereto as Exhibit 26.


          Stroz Friedberg also identified and analyzed approximately 347 files from his Self-Identified Data that were
          last accessed on Levandowski's MacBook Pro between September 1, 2015 and March 22, 2016. A copy
          of the last-accessed analysis was previously produced to counsel and is attached as Exhibit 16. These
          files, which contain proprietary information related to Levandowski's work at Google on the Chauffeur
          Project, include: confidential presentations regarding the self-driving car and its marketing and business
          plans; videos of features and test drives of the self-driving car; pictures of the self-driving car and multiple
          components; notes pertaining to plans for the self-driving car; diagrams of vehicle components marked
          confidential; system files; software files; and code regarding the self-driving car. Additional documents are
          outlined in the timeline and document review sections below.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                11                                ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                          UBER00312460
                  Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 13 of 34
           PRIVILEGED AND CONFIDENTIAL



           Stroz Friedberg also identified access by Levandowski to several cloud storage repositories. A review of
           the internet history shows access to Google Docs on January 26 2016, the day of Levandowski's
           resignation. In particular, he accessed a file named "Chauffeur TL weekly updates- 04 2015- Google
           Sheets." Further review of the laptop identified a file with the same name in Levandowski's Downloads
           folder, which is attached as Exhibit 27. The file was created on January 1, 2016 and last accessed on
           February 24, 2016 (about a month after his departure from Google).

           Evidence also indicated that Levandowski accessed, along with other ottomotto employees, an Otto motto
           team site on the Slack collaboration platform (www.slack.com). 8 Levandowski was added as a user to this
           team site on November 18, 2015. Our review indicates that he accessed Slack twice on January 12, 2016,
           and again on March 10, 2016.

                             Communicated with Google Employees

           Stroz Friedberg identified two pictures of chat messages dated January 28, 2016, two days after
           Levandowski's departure, to Google employees referred to as lonut and Rahim that reflect pitches by
           Levandowski to leave Google and join Ottomotto. See Exhibit 28.

                             Deleted Relevant Files

           Stroz Friedberg's analysis also identified relevant files that were accessed on Levandowski's personal
           laptop and subsequently deleted between September 1, 2015 and March 22, 2016. An example of this
           activity includes system logs indicating that on December 14, 2015, approximately 24,000 files were located
           within the folder path "/Users/Anthony/Desktop/boards/chauffeur-svn/." These same system logs indicate
           that on December 14, 2015, approximately 24,000 files were located within the folder path
           "/users/Anthony/.Trash/boards/chauffeur-svn/." A review of the names of the deleted files indicates that
           they were source code and electronic design files relating to driverless cars. Attached as Exhibit 29 is a
           sample of the deleted file history, and a full history can be provided upon request. Given the timing, these
           deletions could be a good-faith effort by Levandowski to attempt to purge from his laptop Google
           confidential material prior to his departure.

           Levandowski's iPhone 6S Plus' was used to communicate with, among others, Rhian Morgan, head of
           human resources for Otto motto, regarding Shred Works. 10 In particular, between February 26 and March
           1, 2016, there are three deleted chat messages between Levandowski and Morgan referring to Shred
           Works and/or the destruction of "stuff." See Exhibit 30. In addition, on March 13, 2016, Levandowski writes
           to an unknown recipient, "We're ready for junk King." See Exhibit 25.



           8    The team name indicated in the URL is "280systems" which Vvas set up on Novmber 10, 2015. At some point
                thereafter, the team site name Vvas changed to Ottomotto.
           9
                Levandowski's iPhone 6S only contains messages and email data from February 6, 2016 to March 22, 2016 (the
                date Stroz Friedberg imaged the device). Levandowski did not identify a cloud account relating to this device on
                his questionnaire. When asked during his interview about a cloud backup, Levandowski stated that he did have
                a cloud account but that it only backed up his Safari and News files on this device. The parties may Vvant to seek
                access to this cloud account for further review and analysis.
           10
                There are approximately 1,300 deleted chat messages. As discussed before, each message in a thread is considered
                a separate object by Relativity. Accordingly, the 1,300 messages represent a much smaller number of actual threads.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                        12                                ©2016 Stroz Fnedberg All nghts reserved



CONFIDENTIAL                                                                                                                              UBER00312461
                    Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 14 of 34
           PRIVILEGED AND CONFIDENTIAL



           Lastly, on March 1, 2016, Levandowski sent a text to an unknown recipient stating, "[D]elete the iMessages
           every night" See Exhibit 31. Levandowski also attempted to empty the Trash bin on his MacBook Pro
           while he was at Stroz Friedberg's office on March 22, 2016 at approximately 12:12 p.m., but our examination
           found no files were contained in his Trash at the time he attempted to empty it

           A more detailed forensic analysis of Levandowski's devices and accounts is included in Stroz Friedberg's
           report as Exhibit 17.

                             Timeline of Relevant Activitv on Levandowski's Devices

           Below is a timeline of relevant events identified through analysis of Levandowski's devices:


                •     12/14/2015- Approximately 24,000 potentially relevant files and folders moved from a desktop
                      folder to the Trash (ES001); 11
                •     12/21/2015- DSR/Source Code Example and test report for HDL-64E S2 Laser Power Customer
                      added to personal Dropbox account;
                •     12/22/2015- USB device labelled "8GB" erased using MacBook Pro laptop (ES001);
                •     1/26/2016- Levandowski's last day at Google;
                •     1/26/2016- USB device labelled "280" erased using MacBook Pro laptop (ES001);
                •     2/9/2016- Approximately 20,000 items moved to Trash (ES001);
                •     2/10/2016- 160 GB of free space became available on the MacBook Pro laptop (ES001 );
                •     2/19/2016- 8 GB SanDisk Cruzer erased using MacBook Pro laptop (ES001);
                •     2/26/2016- Text from Rhian Morgan to Levandowski stating, "I'm gonna go get your stuff destroyed
                      this afternoon btw ill send you a bill and a pic/video" (deleted) (ES002);
                •     3/1/2016- Text from Levandowski to an unknown recipient stating, "Ok good reminder to delete the
                      iMessages every night" (deleted) (ES002);
                •     3/1/2016- Text from Rhian Morgan to Levandowski stating, "i've been paying for shredding on my
                      card, since it's not technically a business expense for OM. LMK if I should expense it or send you a
                      bill instead©" (deleted) (ES002);
                •     3/1/2016- Text from Rhian Morgan to Levandowski stating, "Ricardo, the shredder at ShredWorks,
                      has a thing for these baby blues so he only charges me for about half the stuff they shred" (deleted)
                      (ES002);
                •     3/8/2016- Last known time the Drobo5 was connected to the MacBook Pro (ES001);
                •     3/13/2016- Text from Levandowski to unknown recipient stating, "We're ready for junk King"
                      (deleted) (ES002); and
                •     3/22/2016- Trash emptied (during the interview with Stroz Friedberg) (ES001).


           Many of these deletions may have been good faith attempts by Levandowski to purge retained Google
           material from his devices in accordance with his obligation not to retain confidential Google data. However,
           by March 2016, Levandowski was aware that Stroz Friedberg was going to implement a process to

           11
                ES001 is Stroz Friedberg's internal evidence number for Levandowski's MacBook Pro Laptop. We numbered each
                device separately for all of the Diligenced Employees, which are contained in their respective forensic reports
                attached as Exhibits 17-21.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                     13                               ©2016 Stroz Fnedberg All nghts reserved



CONFIDENTIAL                                                                                                                          UBER00312462
                   Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 15 of 34
           PRIVILEGED AND CONFIDENTIAL



           preserve, identify, and potentially remediate retained Google material from his devices. At that point, the
           better course would have been to let that process control. In addition, there was an effort by Levandowski
           and his Ottomotto colleagues to delete texts in real time. Stroz Friedberg did not re-interview Levandowski
           or others regarding their reason for this practice.

                        3. DOCUMENTS IDENTIFIED DURING STROZ FRIEDBERG'S REVIEW

                            Google Data or Information

           Putting source code files aside, the vast majority of potentially relevant items were derived from
           Levandowski's sources of data, as opposed to those of the other Diligenced Employees. Relevant
           documents from Levandowski's devices and web-based repositories, including those from the Self-
           Identified Data, include the following:


               •     Pictures of a Google car, such as a Google car dash and Prius components/connections (Exhibit
                     32);
               •     Technical drawings and diagrams, such as a figure depicting radar technology, simulations, LIDAR-
                     related diagram, and Google Confidential PBR 0.7 optical cavity drawing (Exhibit 33);
               •     Patent application for LIDAR (Exhibit 34);
               •     Videos, such as flashing lasers (Exhibit 35);
               •     Keynote files showing Google car road test (Exhibit 36);
               •     Source code "snippets" (Exhibit 37);
               •     E-mail messages from Levandowski's Google e-mail account discussing Chauffeur-related issues,
                     simulation results, and a Calendar entry located in Trash regarding a meeting on March 18, 2016 at
                     Levandowski's house (Exhibit 38);
               •     1/28/2016 e-mail from Levandowski to unknown recipient regarding time to move on from Chauffeur
                     and wanting to be in the driver's seat (Exhibit 39);
               •     Images of business cards (est 185) located in a file path with folder named "Chauffer contacts"
                     (Exhibit 40);
               •     Chauffeur group e-mail including, the Chauffeur-laser group e-mail discussing testing lasers and
                     Chauffeur-all group e-mail discussing additions to 2081 (Exhibit 41 );
               •     Presentations and PDF files, including information marked "Google Confidential and Proprietary"
                     titled GBr Assembly Flowchart SOP (Exhibit 42), Chauffeur-LIDAR Simulations (Exhibit 43),
                     "Confidential- do not share" files related to Chauffeur's business plan and 2014 funding ask (Exhibit
                     44), and a draft PBR v7 Laser Classification Memo (Exhibit 45); and
               •     Employee lists (Exhibit 46).


                            Formation of 280 Svstems and Ottomotto

           Levandowski's potentially relevant documents also contain some communications suggesting that details
           relating to the formation of Ottomotto may have taken place while he was still employed at Google.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                     14                           ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                          UBER00312463
                   Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 16 of 34
           PRIVILEGED AND CONFIDENTIAL



           Depending on the timing, these materials may bear on Levandowski's fiduciary duty to Google. The items
           include:

               •     1/20/2016 note addressed to "S." (possibly Soren) regarding "metric I think we should spring to .
                     Ford and any other oem will come begging to us to have us do a deal after we have this operating.
                     Doing the ford deal now detracts focus and engineers from doing this and therefore should not
                     happen. Ford isn't the only oem in town (there's a dozen that will work just fine), and even ford isn't
                     going away, as we show more and more that the tech is real the more leverage we get and the more
                     we can get what we want from them (speed and Mig volume). [... ] After we have our first 1,000
                     rides a day we scale as fast as possible. In my mind this battle will be won by the first team to get
                     10-20k cars unmanned on the streets. I also believe it is a winner take all in market by market
                     regions. [ ... ] Let's go kick ass I" (Exhibit 47);
               •     2/25/2016 iMessage from Rhian Morgan to Levandowski stating, "Also when was your official last
                     day at Google? I want to date the sublease agreement to then" (Exhibit 48); and
               •     3/11/2016 e-mail communication from Brad Templeton to Levandowski stating, "[ ... ] Sure you just
                     don't want to do cars instead of trucks? I've figured a way for the car companies to beat Chauffeur
                     if they will let the self-drive unit be an autonomous start-up but give it a few special resources from
                     the car company ... " Levandowski replies, "Ok fine, let's talk. When are you free?" (Exhibit 49).


                            Communications Regarding Recruiting Efforts of Google Emplovees

           Levandowski's iPhone also contains e-mails, text communications and chat messages with other
           Diligenced Employees, Uber executives, former Google employees, and ottomotto staff about recruiting
           people to ottomotto, among other things. Below are some examples of these communications:


               •     1/25/2016 employment offer letters to various Google employees (Exhibit 50);
               •     1/28/2016 e-mail from Laila Mathos rejecting the offer to be part of 280 Systems (Exhibit 51);
               •     2/6/2016 iMessage from Levandowski to Ron stating, "Don starts Monday. He's moving his treadmill
                     in today," with Ron replying, "This was one of the hardest pitch in history to convince someone to
                     receive a pile of money" (Exhibit 52);
               •     2/8/2016 iMessage from Levandowski to Rhian Morgan stating, "They all need to sign nda, we were
                     meeting at 12 DO today I think" (Exhibit 53);
               •     2/9/2016 SMS message from David Wakeserstoffer to Levandowski stating, "Would it be possible
                     to meet the 280 people who joined? And it would be good to chat with Don ... Can you maybe connect
                     me to him?" (Exhibit 54);
               •     2/9/2016 iMessage from Rhian Morgan to Levandowski stating, "[A]nyways I talked them through
                     some of the sensitivities and the importance of the confidentiality stuff we had them sign, but also
                     hyped them up about how we're working on some cool stuff and that this is gonna be an awesome
                     space for them to move into ... "(Exhibit 55);
               •     2/10/2016 iMessage from Levandowski to Sebern stating, "Feel free to pressure Aaronl" (Exhibit
                     56);
               •     2/11/2016 SMS message from Claire DeLaunay to Levandowski stating, "Alright I am ready to join
                     your amazing adventure. Can I start tomorrow?" (Exhibit 57);
               •     2/13/2016 iMessage from Rhian Morgan to Levandowski stating, "Others are down I think as long
                     as we lock them down early next week" (Exhibit 58);




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                   15                               ©2016 Stroz Fnedberg All nghts reserved



CONFIDENTIAL                                                                                                                        UBER00312464
                   Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 17 of 34
           PRIVILEGED AND CONFIDENTIAL



               •     2/16/2016 iMessage from Levandowski to Rhian Morgan stating, "Let's ask everyone to get you 5
                     good names (no google people) to start the pipeline of recruiting" (Exhibit 59);
               •     2/20/2016 iMessage from Ron to Levandowski stating, "[VV]e're done with almost all of the issuance
                     of shares, chasing Don jur and drew" (Exhibit 60);
               •     2/22/2016 iMessage from Levandowski to an unidentified person stating, "Hey can you send me
                     Aaron's contact details? Liar wants to give him a consultant confidentiality agreem [sic] ... " (Exhibit
                     61);
               •     2/22/2016 iMessage from Levandowski to Kalanick stating, "Its [sic] going amazing, just onboarded
                     another 5 peeps today, 4 from former team ... Looks like we're signing in a couple hours," with
                     Kalanick replying, "Just reading text now ... Pumped" (Exhibit 62); and
               •     3/17/2016 iMessage from Levandowski to Kalanick stating, "I think I have a way to have both ATC
                     and Bay Area peeps work on separate missions: We focus on lasers and early roll out and he
                     focuses on high quality/mass roll out. We did this for streetview (ask bam), maps and early chauffeur
                     and it worked super well. I'll ping Jeff and run it by him." Kalanick replies, "Interesting, it will be
                     good to see how that model fits after we open kimono on fri" (Exhibit 63).


                            Additional Notes Files on Levandowski iPhone relating to Gooqle and/or Ottomotto

           Levandowski's iPhone 6 also contains Notes with the following details:


               •     9/17/2015 Note regarding "Senior Mgmt layer business lead I ceo," "doing business for Uber," and
                     "how can it not have Google IP in it" (Exhibit 64);
               •     1/7/2016 Note addressed to "L" [possibly a draft for Larry Page] regarding "Chauffeure is broken,"
                     "can't do it at Google" (Exhibit 65);
               •     1/11/2016 Note regarding details about trucks, comparisons, and specifications (Exhibit 66); and
                     1/30/2016 Note stating, "I went back to Palo Alto and I rechecked the mail and makes sure I didn't
                     miss anything from Google" (Exhibit 67).


                            Pictures and Videas

           Levandowski's relevant pictures and videos consist primarily of pictures related to the assembly of the
           Google self-driving car, the components of the car, and whiteboard snapshots of notes and diagrams
           including:

               •     Pictures of the construction process of Google car, such as components/connections and parts
                     (Exhibit 68);
               •     Go Pro video of self-driving vehicle test (Exhibit 69);
               •     Drawings and diagrams, such as figures depicting radar technology (Exhibit 70) and simulations
                     (Exhibit 71);
               •     White board pictures (Exhibit 72);
               •     Screenshots of text messages, meeting invitations, notes and e-mails (Exhibit 73);
               •     Electronic and hardware components (Exhibit 74);
               •     Images of computer screen contact lists and car (Exhibit 75);
               •     Flowchart of Chauffer software architecture (Exhibit 76); and




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                    16                               ©2016 Stroz Fnedberg All nghts reserved



CONFIDENTIAL                                                                                                                         UBER00312465
                   Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 18 of 34
           PRIVILEGED AND CONFIDENTIAL



               •     Pictures of business cards (Exhibit 77).


                            Source Code Files

           Approximately 734 source code files came from Levandowski's devices or accounts. Given Stroz
           Friedberg's lack of context, we could not determine whether these files were related to Google self-driving
           cars or otherwise constituted Google confidential information. A review of these files by Levandowski and/or
           a third-party expert could settle this issue, or they could be remediated in bulk.

          While Levandowski retained, and in some cases, accessed Google confidential information after his
          departure from Google, Stroz Friedberg discovered no evidence indicating that he transferred any of that
           data to Otto motto or other third parties.

                   B.    LIOR RON

                        1. INTERVIEW AND INVESTIGATION
          On March 22, 2016, Stroz Friedberg interviewed Ron. During his interview, Ron informed Stroz Friedberg
          that he worked at Google on two prior occasions. The first time was from April 7, 2007 to December 11,
           2011. He then began working at Motorola, and he returned to Google on November 4, 2014, when Google
           acquired Motorola. He remained at Google until January 13, 2016.

           During his interview, Ron informed Stroz Friedberg that he: (a) did not possess any Google information or
           data; (b) very rarely transferred information to his personal e-mail accounts; (c) met with some Google
           employees about the start-up company; (d) met with Uber executives and Levandowski, while employed at
           Google, about forming a new company; and (e) believed that five disks containing highly confidential Google
           information pertaining to self-driving cars were destroyed by Levandowski. Exhibit 6 is Stroz Friedberg's
           memorandum of Ron's interview.

                            Did Not Retain Google Information or Data

           Ron denied retaining any Google-related information. He stated that he accessed Google's network,
           including Google Drive, through his personal Nexus phone, but that such access was terminated when he
           resigned on January 13, 2016. He also stated that he did not use his personal laptop or any other personal
           devices to access the Google network or any Google data or documents.

                            Transferred Some Google E-mails

          Ron stated that he did not copy, download, or transfer any Google confidential or proprietary information to
          any of his personal devices and "very rarely" forwarded non-work related/non-confidential e-mails or
          contacts to his personal accounts. Ron acknowledged that, prior to leaving Google (on his last day); he
          forwarded some Google e-mails to his personal Gmail account, including employee exit documents, "public"
           presentations, and certain contacts. In particular, he said that he forwarded: (a) an e-mail regarding a
           Chinese company named LETV that was interested in starting a self-driving car division; (b) contact
           information for the Dropbox; (c) contacts for a Chinese self-driving car company that contacted Ron (he did
           not recall if it was the same company noted above); and (d) some personal photographs.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                17                             ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                       UBER00312466
                 Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 19 of 34
           PRIVILEGED AND CONFIDENTIAL



                            Met with Google Employees about Start-Up Company

           Ron stated that while employed at Google he spoke with Levandowski about starting 280 Systems
           (thereafter renamed "Ottomotto"), attended a social barbeque for Chauffeur employees, and attended a
           group meeting at Levandowski's house in December 2015 where Ron gave a presentation on trucking
           automation. Ron recalled that the December 2015 meeting was just before the holidays and included a
           group of Chauffeur team members and other Google employees who had been invited to the meeting
           through Levandowski's connections. Ron identified seven Google employees in attendance, but did not
           recall the names of the other employees. After the meeting, Ron reached out to at least four Google
           employees who expressed an interest in the new company. He met with them over coffee and/or breakfast
           to discuss the new business and the possibility of them joining Otto motto. Of the four, only one individual
           joined ottomotto. Ron obtained most of the individuals' contact information from Levandowski. 12

           Following his departure from Google, Ron stated that a number of Google employees reached out to him
           about joining ottomotto. Some of these individuals had already resigned from Google, but others were still
           employed. He specifically recalled telling most of these individuals, including his employees, that he could
           not solicit Google employees and tried to connect these individuals with individuals at Ottomotto who had
           not worked at Google. However, he did meet with at least three employees and discussed the new business
           and their potential participation. Each of these individuals ultimately received an offer and joined ottomotto.

           According to Ron, as of the date of his interview on March 22, 2016, Ottomotto had approximately 26
           employees, 13 of whom previously worked at Go ogle (7 of the 13 moved directly from Google to ottomotto).
           Ron also emphasized that ottomotto has put in place strict staffing protocols with regard to Google
           employees and that, if said employees contacted them, they have a protocol in place where the Google
           employee only meets with individuals who have not worked at Google to learn more about the company.
           Ron stated that an offer is made verbally, followed by a written offer, only after they leave Google.
           Ottomotto's employment letter also includes strong language about not bringing any prior employer data to
           Ottomotto. New employees also are issued new laptops and are directed not to use personal devices.

                            Met with Uber Executives While Employed at Gooqle

           Ron stated that, beginning in October/November 2015 and while working at Google, he accompanied
           Levandowski to certain meetings with various Uber executives, including Jeff Holden, Brian McClendon,
           Cameron Poetzscher, Nina Qi and Travis Kalanick. Ron said that Uber was initially interested in a
           commercial agreement to license some technology and products (after-market car kits), but that as the
           conversation evolved Uber became interested in acquiring the new company which is focused on robotic
           trucks and after-market self-driving car kits. Ron did indicate that if they close the transaction with Uber,
           "They may be helping Uber compete with Google in some way," since Uber is interested in Google's
           Chauffeur Project.

                            Destruction of Levandowski's Personal Drobo Disks with Confidential Gooqle Information

           Ron stated that approximately one week before his interview, Ron and Levandowski met with Uber
           executives Kala nick, Poetzscher, and Qi and discussed Levandowski's possession of proprietary Google

           12   The Google employees Ron recalls meeting vvith, or attending these meetings, are identified in his unredacted
                interview memorandum, which Vvas produced to his counsel.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                    18                               ©2016 Stroz Fnedberg All nghts reserved



CONFIDENTIAL                                                                                                                         UBER00312467
                 Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 20 of 34
           PRIVILEGED AND CONFIDENTIAL



          information. Per Ron, who claimed that his recollection of the meeting was poor, Kalanick said he did not
          want any of that data at Uber and he did not want to know what happened to the disks so long as they did
           not land at Uber. Based on that discussion, Ron said Levandowski destroyed the disks after the meeting.
           He also stated that thereafter he received a telephone call from Qi inquiring about the disks and advising
           Ron and Levandowski not to destroy them. Ron called Levandowski, learned that the disks had already
           been destroyed, and relayed this information to Qi. Ron stated that he could not recall any further details
           and seemed uncomfortable answering questions about this meeting.

                        2. FORENSIC EXAMINATION OF DEVICES
                            Retained, Accessed, or Transferred Google Information or Data

           Stroz Friedberg's forensic examination of Ron's devices indicates that he accessed a Google Drive account
          from his iPhone 6S and his MacBook Laptop. However, we could not confirm if it related to his personal or
          work account. 13 In addition, he accessed, along with Levandowski and other Ottomotto employees, an
          Ottomotto team site on the Slack collaboration platform (www.slack.com). Our review indicates that Ron
          first accessed this site on November 17, 2015. Significantly, Stroz identified the Ottomotto team site on
          Slack being accessed via a web browser on Ron's MacBook Air laptop on January 1, 2016, during which
          time a file or folder labeled "Chauffeur_next_steps_-_we_need_team_Mac" was accessed. However, there
          is no evidence of potentially relevant files being transferred to Ron's devices.


           Also, contrary to Ron's interview, our forensic examination also revealed that Ron used his MacBook Laptop
          to access Google's corporate intranet (MOMA) login screen between January 8, 2016 and March 12, 2016,
          well after he left Google, and that he stored potentially relevant data on several of his devices including his
           iPhone 6S, MacBook Laptop, MacBook Air Laptop, iPhone 5S, and iPad. Additional information regarding
          what he stored is included in the timeline and document review sections below.


           In addition, Stroz Friedberg's analysis identified several active communications regarding Google
           employees, which were processed into Relativity for further review. Stroz Friedberg also observed
           potentially self-sent messages from lior@280systems.com regarding offer letters for Ottomotto employees,
           and scans of agreements for Ron, Juelsgaard, Claire Delaunay, Oleg Khainovski, Matt Grigsby, Asheem
           Linaval, Maxime Levandowski and Rhian Morgan, among other things.


                            Deleted Relevant Files

           Our analysis of Ron's MacBook Laptop and i Mac indicates that these devices were used to conduct internet
           research regarding how to delete and destroy digital data in January 2016. His MacBook Laptop, iPad, and
           iCioud Backup also contain deleted communications with Levandowski regarding wiping and deleting data,
           among other things.

           In addition, Stroz identified several items that were deleted between January 6, 2016 and January 22, 2016,
           including a Google-related document entitled "Chauffeur win plan.docx," which was deleted on March 22,
           2016, shortly before Ron's interview with Stroz Friedberg. We do not possess this file, but an artifact on



           13   Stroz also found evidence that the Google Drive application was installed on Ron's iPhone 5S, but no additional
                information regarding data transfer was found.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                    19                                ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                              UBER00312468
                   Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 21 of 34
           PRIVILEGED AND CONFIDENTIAL



           the computer revealed Ron's access to it Also, an iMessage from Levandowski saying, "I got Soren closed
           and Dan (both ex chauffeur)," was deleted on January 28, 2016. See Exhibit 78.

           Stroz identified multiple internet searches conducted in January 2016 on Ron's iMac regarding data
           destruction, such as, "how to secretly delete files mac," "secure delete of trash on mac" and "how to
           permanently delete google drive files from my computer." Stroz Friedberg also recovered one deleted
           message between Ron and Levandowski on March 9, 2016 in which Levandowski instructed Ron to delete
           all messages on his PC and phone- "Make sure you delete all the messages tonight on both your PC and
           iPhone " See Exhibit 79.

           There were also deleted chat messages on Ron's iPhone 5S that relate to Google, including discussions
           about "not incentivizing chauffeur employees more." Additional communications are listed in the timeline
           and document review sections below.

           A more detailed forensic analysis of Ron's devices and accounts is included in Stroz Friedberg's report as
           Exhibit 18.

                            Timeline of Relevant Activity on Ron's Devices

           Below is a timeline of relevant events identified through analysis of Ron's devices:


               •     1/1/2016 - Internet access to a Slack team site file or folder titled "Chauffer_next_steps_-
                     _we_need_team_Mac" (ES015);
               •     1/8/2016 -Internet access to https://login.corp.google.com (ES014);
               •     1/12/2016- Internet search "how to permanently delete google drive files from my computer"
                     (ES058);
               •     1/12/2016- Internet search on "how to securely delete files mac" (ES058);
               •     1/12/2016 - Internet access to "Mama Now" (ES014);
               •     1/13/2016- Internet search on "how to free up space on mac taken by secure erase" (ES058);
               •     1/13/2016- Ron leaves Google;
               •     1/19/2016- Internet search on "can a MacBook be recovered after formatting the OS" (ES058);
               •     1/28/2016 - Chat message from Levandowski stating, "I got Soren closed and Dan (both ex
                     chauffeur)" (deleted) (ES017);
               •     1/31/2016- Internet search on "secure delete of trash on mac" (ES058);
               •     2/2/2016- Internet search regarding "how to delete" certain information (ES014);
               •     2/2/2016- Chat message with Levandowski stating, "No problem, please re-wipe everything and
                     start fresh vs just deleting my account if possible." (ES014);
               •     3/9/2016- Chat message from Levandowski stating, "Make sure you delete all the messages tonight
                     on both your PC and iPhone" (ES024);
               •     3/12/2016 -Internet access to "up.corp.google.com- MOMA Single Sign On" (ES014); and
               •     3/22/2016- A file labelled "Chauffer win plan.docx" is deleted, shortly before Ron's interview with
                     Stroz Friedberg (ES015).




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                 20                               ©2016 Stroz Fnedberg All nghts reserved



CONFIDENTIAL                                                                                                                      UBER00312469
                   Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 22 of 34
           PRIVILEGED AND CONFIDENTIAL



           As is true with respect to Levandowski, Ron's deletions of Google data from his devices both before and
           after his departure from Google can be viewed as good-faith attempts to purge confidential data in
           accordance with his obligations to Google. However, his deletion of Google data on the verge of his Stroz
           Friedberg interview displays poor judgment given the protocol in place. Although it is generally true that
           Ron retained very little Google confidential information after his departure from Google. In addition, as noted
           above, there was an effort by Ron, Levandowski, and their Ottomotto colleagues to delete text messages
           in real time.

                        3. DOCUMENTS IDENTIFIED DURING STROZ FRIEDBERG'S REVIEW

           Below are some examples of potentially relevant documents we identified that originated from Ron's
           devices. They consist of Google confidential documents, e-mail and chat exchanges and notes pertaining
          to the startup

                            Goog/e Data or Information

               •     Google confidential material mostly related to Android wear including an Andriod wear test plan
                     (Exhibit 80) and presentation regarding Google consumer surveys for smartwatches from April2014
                     (Exhibit 81 ).


                            Communications with or about Goog/e Emplovees Regarding Recruiting Efforts

               •     12/24/2015 i Message from Ron stating, "Waze -yes, the article is not well written but the government
                     point stands. My friend is running this program for waze and will be poach able at some point as our
                     bd lead, she's good. Need your help thinking how to position us as complimentary to waze and not
                     competitor (since we will lead the effort to make them irrelevant after all) so we can get Noam and
                     that team helping" (Exhibit 82);
               •     1/8/2016 SMS message from Ron to Claire Delaunay stating, "Hi Claire, it's Liar Ron ... Anthony tells
                     me all those great things about you, I thought I' II reach out and say hi :) Would love to meet in person
                     over the weekend/Monday" (Exhibit 83);
               •     1/8/2016 SMS message from Ron to Laila Mathos stating, "Hi Laila, it's Liar Ron ... Anthony tells me
                     all those great things about you, I thought I'll reach out to say hi :) ... would love to meet in person
                     over the weekend/Monday if you're around" (Exhibit 84);
               •     1/21/2016 iMessage from Ron to Jur stating," Hi Jur! Great connecting last night, looking forward to
                     get going! I'll send the two of you the NDA later today, and we can aim to meet in person later tonight
                     in SF, maybe around 6:30/6:45pm or so if that works, already engaged the immigration lawyer for
                     sachin we'll get that set up soon" (Exhibit 85);
               •     1/21/2016 iMessage from Rhian Morgan to Ron stating, "Hey is Will McCann someone we're offering
                     to? He just called me looking for an offer letter but I haven't seen his name before. I told him I needed
                     to follow up. Just trying to be careful in case info is leaking- probably paranoid I know!" (Exhibit 86);
               •     1/21/2016 iMessage from Ron to Matt Sweeney stating, "Hey Matt! Great connecting last night, I'm
                     going to send you the NDA later today if you can sign and send a photo/email back to me that will
                     be great, we can aim to meet later tonight in SF, how about 5:30pm." Matt replies, "Sure I'll sign and
                     scan it back to you. I work in Berkeley. I could meet up at 6ish is that cool? Where you thinking to
                     meet?" (Exhibit 87);




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                    21                                ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                              UBER00312470
                   Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 23 of 34
           PRIVILEGED AND CONFIDENTIAL



               •     1/23/2016 iMessage from Ron to an unknown recipient stating, "After that I'm dry on people until
                     you intra more non Google folks, and we're ready to send any Google offers when you tell us"
                     (Exhibit 88);
               •     1/27/2016 iMessage from Rhian Morgan to Ron stating, "[I] think i made an error- i didn't give Pierre
                     a letter for Colin because I know you've been speaking with him, and thought he was non-Google"
                     (Exhibit 89);
               •     1/28/2016 iMessage from Rhian Morgan to Ron stating, "[A]Iso gonna bring this up w/ A when we
                     speak in a bit but Ben Charrow reached out to me directly, I know he's a G guy, is it okay for me to
                     respond? we aren't soliciting, he contacted me directly and the e-mail proves tha [sic]" (Exhibit 90);
               •     1/28/2016 iMessage from Levandowski to Ron stating, "Pierre is not coming 100% final [ ... ]1 got
                     Soren closed and Dan (both ex-chauffeur) [ ... ] Should get one more over the weekend" (Exhibit
                     91);
               •     1/30/2016 iMessage from Laila Mathos to Ron stating, "Hi Liar, this is Laila. I sent a note to Anthony
                     earlier this week but also wanted to write to you. It was a pleasure meeting you. I am sorry to not be
                     a part of 280 with you and Anthony. I am sure it will be a wild success. I had to make a very difficult
                     decision, but it now feels right with my family under our current circumstances. Have a great new
                     venture and I hope we will stay in touch" (Exhibit 92);
               •     1/31/2016 iMessage from Ron to Laila Mathos stating, "Thanks for sending the note Lailal Enjoyed
                     getting to know you, and I fully support whatever decision is best for you , I'm not allowed to reach
                     out or solicit googlers and intend to keep that, but hope we'll stay in touch socially and in the future,
                     take care I" (Exhibit 93);
               •     2/3/2016 iMessage from Ron to Levandowski stating, "Don has everything he needs ball is in his
                     court to sign wanted to take one final look with lawyer time to go full court press now" (Exhibit 94);
               •     2/3/2016 iMessage from Levandowski to Ron stating, "Don will pressure them to accept or leave
                     [ ... ]Once they join the power is in our hands" (Exhibit 95);
               •     2/4/2016 i Message from Levandowski to Ron stating, "If Claire has left Google let's get her to come
                     by, but she must be no longer employed not just having resigned" (Exhibit 96);
               •     2/4/2016 iMessage from Levandowski to Ron stating, "Missing were Colin, Matt Williams, Dan
                     Gruver, Saturn, and three other eng likely to join from outside, plus 3-5 aspen missing guys/gals"
                     (Exhibit 97);
               •     2/5/2016 iMessage from Ron to Levandowski stating, "Colin told me about the driver situation, can't
                     believe aspen done that, let's be careful about this[ ... ] Although if well known on the team has some
                     declarative value [ ... ] as long as there is no other legal issue there." Levandowski replies, "If they
                     are out of Google we are good" (Exhibit 98);
               •     2/8/2016 iMessage from Rhian Morgan to Ron stating, "We went through the G self driving job
                     listings and he pulled about 25 specs for me to condense as a lot of them overlap" Ron replies, "Ok
                     cool, if you can send me the specs later tonight that Will be great" (Exhibit 99);
               •     2/11/2016 SMS message from Daniel Gruver to Ron stating, "Hi Liar - this is Daniel - we met last
                     night. Can I get email set up? If possible daniel@280. My personal email is
                     danielgruver@gmail.com" (Exhibit 100);
               •     2/14/2016 iMessage from Ron to Levandowski stating, "If you feel the tone of TK!Emil this morning
                     was super aggressive we can strip out the fact we can't offer direct employment to people while still
                     at aspen" (Exhibit 101);
               •     2/21/2016 iMessage from Ron to Rhian Morgan stating, "[D]o we know if at Google everyone is full
                     time or they also have contractors? the cost base is substantially different for what can be the same




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                    22                                ©2016 Stroz Fnedberg All nghts reserved



CONFIDENTIAL                                                                                                                          UBER00312471
                   Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 24 of 34
           PRIVILEGED AND CONFIDENTIAL



                       service." Rhian Morgan replies, "They were a mix of contractors and full time at Google" (Exhibit
                       102);
               •       2/22/2016 iMessage from Rhian Morgan to Ron stating, "I'm going to get the wet signatures for the
                       83b from Daniel Colin and Jur today. We need to figure out how quickly we need wet signatures
                       from Don and Drew though" (Exhibit 103);
               •       2/23/2016 iMessage from Ron to Burnette stating, "[W]e are 22 people as of today [ ... ] another 4
                       joining by end of week [... ] software room is stacked [... ] claire, you, Jur, Yevgeny who starts
                       tomorrow, David is week-two away[ ... ] a bunch of folks in the pipeline" (Exhibit 104);
               •       2/29/2016 iMessage from Nina Qi to Ron stating, "Hi Liar- are you free tomorrow (3/1) for 30 minutes
                       to have a call with our employment lawyers to discuss your process with G employees? We are free
                       from 2 to 5 pm" (Exhibit 105);
               •       3/3/2016 iMessage from Sebern to Ron stating, "Woman I know is considering to go to Zoox from
                       Google. She's a driver. Currently at Google. Zoom has offered her $36/hr and stock. Can we beat
                       that?" Ron replies, "Sorry, Can't comment on Google employees or help solicit them, neither do
                       you, thanksl" (Exhibit 106);
               •       3/5/2016 iMessage from Levandowski to Ron stating, "So we need to make sure peeps sign two
                       papers: 1) stating they understand the hiring process for go ogle employees, 2) certifying that they
                       complied with the paper and not bringing ip etc. (I assume we have this one already, but want to
                       review it)" (Exhibit 107); and
                       3/11/2016 iMessage from Rhian Morgan to Ron stating, "[D]o you have dan ratner[']s cell phone
                       number? need to close the loop with him on dependents for health care" (Exhibit 108).


                              Ottomotto Planning

               •       9/21/2015 e-mail from Ron to Scott Offer at Motorola looking for IP lawyer recommendations that
                       had experience dealing with Google and can be fully trusted to keep matters confidential (Exhibit
                       109);
               •       10/24/2015-11/16/2015 e-mail exchange between Eyal Shinar, the CEO of Fundbox, and Ron
                       initiating a brunch invitation and including a discussion of funding strategy (Exhibit 11 0);
               •       12/24/2015 iMessage from Ron stating, "We don't want to be hostile to google at all. We want to
                       help them. We just want to be the android of cars and uber of trucking ... " (Exhibit 111 );
               •       2/29/2016 - 3/2/2016 internal Ottomotto e-mails discussing recruitment and emphasizing cannot
                       solicit Go ogle employees (Exhibit 112);
               •       3/10/2016 - 3/12/2016 e-mail exchange forwarded to and introducing Ron to lnnoviz commenting
                       that "both sides are in stealth" (Exhibit 113); and
               •       Notes and lists regarding startup including note discussing four key risk areas for deal including, suit
                       brought by Google (Exhibit 114), list of former "Mota Employees" (Exhibit 115) and August 2015 to
                       October 2015 e-mail string between Ron and Jim Palmer of Martinez Palmer containing a list of
                       names of possible candidates, including discussion of one individual that might be getting an offer
                       from Google (Exhibit 116).


                              Slack and Deletion Discussions

                   •    11/9/2015 i Message from Ron to an unknown recipient stating, "There's tons of stuff I don't send
                        you for security. Choose from the following options: regular gmail. New joint gmail account well
                        both have login to, Dropbox folder, need to start getting things organized" (Exhibit 117);




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                      23                               ©2016 Stroz Fnedberg All nghts reserved



CONFIDENTIAL                                                                                                                           UBER00312472
                   Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 25 of 34
           PRIVILEGED AND CONFIDENTIAL



                   •        11/10/2015 iMessage between Levandowski and Ron, where Levandowski discusses a "Dropbox
                            folder," and Ron replies, "Cool. .. Let's try slack, secure and I know the CEO ) just invited you let
                            me know, enable notifications on your mobile/desktop and we can communicate there"
                            Levandowski replies, "OK sounds good" (Exhibit 118);
                   •        11/16/2015 iMessage to Ron from Levandowski stating, "Please Delete after use." Ron replies,
                            "Thanks will do ... Deleted, good call" (Exhibit 119);
                   •        12/18/2015 iMessage from Levandowski to Ron stating, "Let's do Slack and iMessage only;-)" Ron
                            replies, "Ok" (Exhibit 120);
                   •        12/18/2015 iMessage from Ron to Levandowski stating, "My bad was thinking of copy pasting cutter
                            e-mail to slack but passed, will not happen again." Levandowski replies, "No worries let's just keep
                            it clean" (Exhibit 121);
                   •        12/29/2015 iMessage from an unknown person to Ron stating, "Uploaded offer letters to slack ... "
                            (Exhibit 122); and
                   •        3/9/2016 iMessage from Levandowski to Ron stating, "Make sure you delete all the messages
                            tonight on both your PC and iPhone." (Exhibit 79).


                                  Pictures and Videos

           Ron's media contained relevant pictures and videos primarily relating to autonomous vehicles, lasers,
           graphs, and whiteboard snapshots of notes and diagrams, including:


               •        Pictures of components/connections and parts of autonomous vehicles (Exhibit 123);
               •        Confidential material related to Long Range Lasers (Exhibit 124);
               •        Pictures and videos of digital interpretation of a car driving (Exhibit 125);
               •        Graphs of driving statistics (Exhibit 126); and
               •        White board pictures (Exhibit 127).


                                  Source Code Files

           Approximately 62 source code files came from Ron's devices or accounts. Given Stroz Friedberg's lack of
           context, we could not determine whether these files were related to Google self-driving cars or otherwise
           constituted Google confidential information.

                       C.     DON BURNETTE

                            1. INTERVIEW

           On March 23, 2016, Stroz Friedberg interviewed Don Burnette. Burnette worked as a software engineer at
           Google for the Chauffeur Project from August 2010 to February 9, 2016. He started working for Ottomotto
           on February 29, 2016. During his interview, Burnette informed Stroz Friedberg that he: (a) did not possess
           any Google information or data; (b) never accessed Google's network with any of his personal devices; (c)
           never downloaded or transferred any Google data to his personal devices or accounts; and (d) prior to
           leaving Google, spoke with Ron and Levandowski about the start-up company. Exhibit 7 is Stroz Friedberg's
           memorandum of Burnette's interview.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                         24                              ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                                 UBER00312473
               Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 26 of 34
           PRIVILEGED AND CONFIDENTIAL



                         Did Not Retain, Access or Transfer Google Information or Data

          Burnette denied retaining any Google-related information and stated that he did not access, copy,
          download, or transfer any Google confidential or proprietary information to any of his personal devices
          during his employment or upon leaving Google. He stressed that he only used his work devices to access
          the Google network and Google documents.

                         Met with Google Employees about the Start-Up Company

          In December 2015, while still employed at Google, Burnette spoke with Levandowski concerning the
          automated vehicle space and attended a group meeting at Levandowski's house where Ron gave a
          presentation on trucking automation. Levandowski spoke to the group about wanting to start a company in
          the trucking space. Burnette stated that he had a side conversation with Ron and Levandowski at this
          meeting about the structure of the proposed company and what he could bring to the table. He recalled that
           at least seven Google employees were also in attendance, along with other non-Google employees. The
           meeting lasted one to two hours.

          Burnette stated that about one week after the above-referenced meeting, he spoke with approximately
          three members of the laser team about the start-up and the risks associated with it After that meeting,
          which was in plain view, Burnette was approached by his manager and asked if he was leaving. Burnette
          thereafter spoke with the head of the Chauffeur Project, who advised Burnette that Google would own all
          of the autonomous vehicle space and would "crush" Burnette if he left

           On February 9, 2016, Burnette contacted Ron to let him know he left Google and was interested in joining
           Ron and Levandowski. The following day, Burnette met with Ron and spoke with him about joining
           Ottomotto and certain deal points. He received an offer from Ottomotto on February 11, 2016 and accepted
          the position. His main role was to write code regarding the dynamics of how automated trucks work. He
           emphasized that he would not be relying on any information from Google since Ottomotto is in a different
           domain with a different approach. He said Google is focused on controlling cars on streets and Ottomotto
           is interested in controlling trucks on the freeways.

           Burnette has referred several non-Google employees to Ottomotto. Also, he acknowledged that he has
           interviewed several people, but no one from Google. If the applicant was from Google, he would not
           interview him or her. He also stated that he believed there was a process in place at Ottomotto to prevent
           new employees from bringing information from their prior employers to Ottomotto.

                     2. FORENSIC EXAMINATION OF DEVICES
                         Retained, Accessed or Transferred Google Information or Data

           Stroz Friedberg's forensic examination of Burnette's devices confirms Burnette's representations that he
           did not store or transfer any Google data or information to his personal devices. Stroz Friedberg did find
           evidence that indicates that Burnette used his MacBook laptop to access Google's corporate intranet
           (MOMA) site login page both before (January 9, 2016) and after (March 21, 2016) he left Google. There is
           no forensic detail available on what Burnette viewed on MOMA in March 2016. He accessed Google Drive
           on all of his devices as well, but we were not able to determine if this access was personal or work-related.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                25                              ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                        UBER00312474
                   Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 27 of 34
           PRIVILEGED AND CONFIDENTIAL



           In addition, Stroz observed an internet search on Burnette's MacBook Pro for "how to factory reset macbook
           pro" on March 4, 2016, which is the same day the operating system was installed, upgraded, or restored.
           His MacBook Pro was backing up to a Time Machine, which Stroz Friedberg did not receive, image, or
           analyze. Burnette also provided Stroz Friedberg with a 4 terabyte Synology device which we imaged but
           did not process for review per the parties' instructions. Stroz Friedberg conducted a preliminary review of
          this device and identified a number of personal GoPro and cinema movie videos. Further analysis would
          be necessary to determine if this device contains any relevant files.

                              Deleted Potentiallv Relevant Files

           Burnette's iPhone 6S Plus contains a deleted text message with an unknown party dated February 4, 2016
           regarding "updates on Google front"

           A more detailed forensic analysis of Burnette's devices and accounts is included in Stroz Friedberg's report
           as Exhibit 19.

                              Timeline of Relevant Activitv on Burnette's Devices

           Below is a timeline of relevant events identified through analysis of Burnette's devices:


               •       1/9/2016- Access to MOMA (ES030);
               •       2/4/2016- Text message stating, "Let's do that, just finished chatting with Yevgeni. Also have doe
                       updates on Google front" (Deleted) (ES037);
               •       2/8/2016- Access to MOMA (ES030);
               •       2/9/2016 - Burnette leaves Google;
               •       2/10/2016- OS installed on MacBook Pro (ES030);
               •       3/4/2016- OS installed, upgraded, or restored on MacBook Pro (ES030);
               •       3/4/2016- Internet search performed on "how to factory reset macbook pro" (ES030);
               •       3/15/2016 - Access to MOMA (ES030); and
               •       3/21/2016- Access to MOMA (ES030).


          The installation of a new operating system on the MacBook Pro would have had the effect of deleting all of
          the current documents and e-mails on that machine. There is nothing to indicate that the installation of a
          new operating system on the MacBook Pro in February 2016 and possibly March 2016 is anything other
          than an action consistent with Burnette's compliance with his duty not to bring confidential material out of
          Go ogle.

                         3. DOCUMENTS IDENTIFIED DURING STROZ FRIEDBERG'S REVIEW
           Don Burnette's potentially relevant documents consist largely of what appear to be text messages and
           Gchat messages of a personal nature and do not specifically relate to the solicitation of Google employees
           or the use of Google intellectual property, except for one or two text messages noted below


                   •    Chats with occasional mentions of Google, most notably discussing piggybacking off Google's
                        legislative work on April 6, 2016 (Exhibit 128);




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                   26                             ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                          UBER00312475
               Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 28 of 34
           PRIVILEGED AND CONFIDENTIAL



               •    2/4/2016 message from Burnette to Levandowski stating, "Let's do that, just finished chatting with
                    Yevgeni. Also have doe updates on Google front" (Exhibit 129);
               •    2/11/2016 iMessage from Burnette to Jur Van Den Berg stating, "Hey Jur, great news, Claire has
                    decided to join and has already started! [... ] I had a great conversation with David (the guy she
                    worked with at Google and wanted to bring) about planning and control ideas and I think I got him
                    hooked, he should also be joining soon." "It's all coming together" (Exhibit 130);
               •    2/29/2016 iMessage from Burnette to Levandowski stating, "FYI, I have a few really awesome sw
                    candidates in mind but nobody wants to work in SF. I just hope that we have good way to reach
                    out to 'all of the talent' that you spoke of 0" Levandowski responds, "Yeah, we are having a South
                    Bay office too" (Exhibit 131 );
               •    3/3/2016 iMessage from Burnette to Levandowski stating, "Sasha left Google this morning. I've
                    already reached out to him"[ ... ] "He wants to come by today to chat" and "did you convince Sasha
                    that our #1 priority is actually shipping something?" Levandowski replies, "I think so." Burnette
                    replies, "good." Levandowski then states, "Great Did you and him talk?" Burnette replies, "yes"
                    and "tried to also convince him." Levandowski replies, "Hehe, I think he's in." (Exhibit 132); and
               •    4/6/2016 draft e-mail indicating that Burnette was likely leaving to join a startup with Levandowski.
                    (Exhibit 133).


                          Pictures and Videos

           Stroz Friedberg identified images from Burnette's computer that appear to be snippets of source code
           (Exhibit 134).

                          Source Code Files

           Approximately 1,603 source code files came from Burnette's devices or accounts. Given Stroz Friedberg's
           lack of context, we could not determine whether these files were related to Google self-driving cars or
           otherwise constituted Google confidential information.

                   D. SORENJUELSGAARD

                    1. INTERVIEW

           On March 24, 2016, Stroz Friedberg interviewed Soren Juelsgaard During his interview, Juelsgaard
           informed Stroz Friedberg that he worked at Google from in or about October 2010 to approximately May
           2011 as a hardware manager for the Chauffeur Project Juelsgaard, however, appears to have been issued
           an offer letter dated August 1, 2011 (contingent upon the completion of the acquisition of 510 Systems) and
           a performance improvement letter on March 1, 2012, which indicates that his employment likely began in
           or about October 2011, and ended in May 2012. After leaving Google, Juelsgaard worked at Nautilus, a
           construction company, on a robotic parking system

           During his interview, Juelsgaard stated that he: (a) did not possess any Google information or data; (b)
          never accessed Google's network with any of his personal devices; (c) never transferred any Google data
          to his personal devices or accounts; and (d) did not solicit any Google employees to work at ottomotto,
          even though his non-solicitation agreement expired years ago. Exhibit 8 is Stroz Friedberg's memorandum
          of Juelsgaard's interview.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                 27                              ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                         UBER00312476
               Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 29 of 34
           PRIVILEGED AND CONFIDENTIAL



                         Did Not Retain. Access or Transfer Google Information or Data

           Juelsgaard stated that he only accessed Google's network through his work laptop. If he connected to
           Google's network through VPN, he would do it through his work laptop as well. He said that he did not use
           any personal devices to access any work-related communications and never transferred or stored any
           Google data on any flash drives, thumb drives, external drives, personal devices or online repositories.

                         Met with Google Employees about the Start-Up Company

           Juelsgaard stated that Levandowski contacted him on January 29, 2016, told him he was going to launch
           a start-up, and asked Juelsgaard if he wanted to be a part of it. Later that day they met for lunch and
           Levandowski told Juelsgaard he wanted to bring him on board as the director of engineering. Juelsgaard
          was concerned that another Google employee who he did not get along with might be joining the company,
          but Levandowski reassured him he was not. Juelsgaard began working at Ottomotto on February 3, 2016.
           His duties involve managing all hardware related to self-driving trucks. He said his work at Ottomotto is
           different than the work at Google in that he is only focused on trucking and big rigs, as opposed to cars.

          Juelsgaard stated that two current Google employees contacted Juelsgaard while he was working at
          Ottomotto. They met for lunch, and Juelsgaard disclosed that he was working on a project with
          Levandowski. They did not talk in detail about Ottomotto or its business. In addition, in March 2016 he went
          to a truck rally in Oakland with approximately three to four Google employees. They spoke a little about
          Levandowski, but the rally was too loud to have a substantive conversation.

           Juelsgaard stated that Ron told him not to solicit any Google employees, even though Juelsgaard was no
           longer bound by a non-solicitation agreement. Ron also told him that he could not discuss what they were
           doing with people outside of the start-up, and that if a current Google employee asked him about the
           company he could tell him/her that he is working with Levandowski at a start-up involving trucks. Juelsgaard
           stated that he does not participate in the interview process for any applicant from Google.

                     2. FORENSIC EXAMINATION OF DEVICES

                         Retained, Accessed or Transferred Google Information or Data

           Juelsgaard's devices and accounts do not appear to contain any Google-specific information or data of any
           consequence, with two possible caveats: (a) in Juelsgaard's Gmail account, sjuel@gmail.com, there is
           significant evidence of source code and scripts relating to lasers; and (b) on his devices we found 174,311
           source code files. However, Stroz Friedberg cannot ascertain whether these items are Google information
           or data. For example, during our forensic review we identified potentially relevant self-sent messages
           containing: python scripts named laserbar.py and rtmp py; laser backup containing C++ Code named
           LMS1xx_node.cpp and LMS1xx.cpp; and an attachment named dotemacs.dat. Given the large number of
           source code files in Juelsgaard's possession, he and/or a third party should clarify whether these materials
           constitute Google confidential information, or they could be remediated in bulk without a file-by-file review.
           It is important to note, that Juelsgaard only worked at Google for approximately seven months and more
           recently worked for Nautilus on robotic parking systems. Thus, it is possible that the above-referenced code
           pertains to his work at Nautilus. Without further information, we cannot confirm or disprove this.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                28                               ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                         UBER00312477
                   Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 30 of 34
           PRIVILEGED AND CONFIDENTIAL



          Juelsgaard's MacBook Pro-1 appears to be used mostly for personal use. It contains two virtual machines
          which were used between 2012 and 2014 (after his employment with Google) for programming and testing
           relating to robotics and lasers. Additionally, there is a profile name "51 Os," which was created on January
           8, 2010 and last used on May 8, 2012. This could relate to his former company, 510 Systems, which
           Google acquired in the fall of 2011.

          Most of Juelsgaard's devices do not reveal any mass wipings or deletions. However, his USB contained
          approximately 1,500 deleted files, some of which are potentially relevant pictures and diagrams. Again,
          Stroz Friedberg does not have the context to rule these in or out as Google confidential information. As with
          the source code files, further review could be conducted by Juelsgaard or a third party with sufficient
          context, or these items could be remediated in bulk.

           A more detailed forensic analysis of Juelsgaard's devices and accounts is included in Stroz Friedberg's
           report as Exhibit 20.

                        3. DOCUMENTS IDENTIFIED DURING STROZ FRIEDBERG'S REVIEW

           Other relevant documents from Juelsgaard include the following, although none seem of particular
           consequence. Aside from the Calendar entries in December 2016, Juelsgaard had no written
           communication with the Diligenced Employees until early February 2016, after he joined Ottomotto. He
           had exchanges with Levandowski, Ron, and Sebern, but nothing particularly relevant


               •     10/11/2010 e-mail with Alan Altmann describing how Juelsgaard's company is not funded by Google
                     (Exhibit 135);
               •     1/16/2012 e-mail chain regarding repair/service on COWls IP-2s HD (Exhibit 136);
               •     1/24/2012- 1/25/2012 Extended e-mail chain and report of COWl mobile mapping status as of
                     January 30, 2012, including references to Topcon and Velodyne scanners (Exhibit 137);
               •     9/11/2012 e-mail with George Lagui regarding the use of SICK LMS1 00 LiDAR to scan for cars
                     (Exhibit 138);
               •     8/26/2012 and 8/29/2012 e-mails regarding Safety System Logic that specifically references "Little
                     Bear lasers" (Exhibit 139);
               •     2012 Criterion task list forwarded to Juelsgaard and Levandowski (Exhibit 140);
               •     12/2/2015 Calendar entry titled "Continue our conversation regarding Project" with detail "I'll call U"
                     with Frantz Lohier @QCAQualcomm.com (Exhibit 141 );
               •     12/4/2015 Calendar entry titled "continue our venture planning," "will call you phone" with Frantz
                     Lohier (see Exhibit 142);
               •     1/28/2016 SMS message from Juelsgaard to his girlfriend, Lotti Hermansson, stating, "[S]igned NDA
                     -talking stock options. Office in SF" (Exhibit 143);
               •     3/31/2016 e-mail exchange with Nevra Kadioglu enticing her to work for Ottomotto (Exhibit 144);
               •     Bryon Majusiak's resume (Google employee on Chauffer team) (Exhibit 145); and
               •     Aaron Wilson's resume (Google employee on Chauffer team) (Exhibit 146).




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                   29                               ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                            UBER00312478
                    Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 31 of 34
           PRIVILEGED AND CONFIDENTIAL



                             Pictures and Videos

           Stroz Friedberg's second level review of Juelsgaard's media produced 164 relevant pictures, including


                •     Diagrams and flowcharts (Exhibit 147);
                •     Screenshots of a computer monitor (Exhibit 148); and
                •     Pictures of whiteboards and handwritten notes (Exhibit 149).


                             Source Code Files

          174,311 source code files came from Juelsgaard's devices and accounts. Given Stroz Friedberg's lack of
          context, we could not determine whether these files were related to Google self-driving cars or otherwise
          constituted Google confidential information. Juelsgaard and/or a third party with better context could parse
          through these files, or, as mentioned herein, they could be remediated in bulk.

                    E.    COLIN SEBERN

                         1. INTERVIEW
           On March 24, 2016, Stroz Friedberg interviewed Colin Sebern. Sebern began working at Google in October
           2012 and resigned on October 22, 2015. 14 Sebern was a program manager at Google, responsible for
           converting new cars into self-driving cars. He called himself a "glorified mechanic." He began working for
           Ottomotto in early 2016. During his interview, he stated that he: (a) did not possess any Google information
           or data; (b) never downloaded or transferred any Google data to his personal devices or accounts; and (c)
           did not solicit any Google employees to work at Ottomotto. Exhibit 9 is Stroz Friedberg's memorandum of
           Sebern's interview.

                             Did Not Retain, Access or Transfer Google Information or Data

           Sebern stated that Google allowed its employee to access its Google Drive through their personal devices
           and that he did access it through his personal Apple iPhone. He emphasized, however, that he only
           accessed Google work documents on his Google work laptop and that he never e-mailed any Google
           information to his personal e-mail accounts. Sebern also confirmed that he only stored and backed-up his
           Google work documents on the corporate Google Drive and that he never stored any Google data or
           information on any flash drives, thumb drives, external drives, personal devices, or online repositories.

           Sebern stated that, prior to his departure, he did not forward or transfer any Google data or information to
           himself or export any Google data. Sebern stated that he checked his personal e-mail and devices for
           Google information or data and said that they did not contain any code, user data, employee data, or any
           other kind of information or data from Google.




           14   Sebern was originally hired by Google as a contract employee through Adecco and was hired as a full-time Google
                employee on September 20, 2014.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                    30                                ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                              UBER00312479
               Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 32 of 34
           PRIVILEGED AND CONFIDENTIAL



                             Met with Google Employees about the Start-Up Company

           Sebern stated that before leaving Google, he met with several Google employees, including Levandowski,
           but he did not discuss the start-up at that time.

          On October 22, 2015, within a week of leaving Google, Levandowski contacted Sebern to see if Sebern
          wanted to join him as a consultant. The next day Sebern went to Ron's house and signed a consulting
          agreement and a non-disclosure agreement ("NDA"). After those documents were signed, Ron told Sebern
          that he and Levandowski were working on self-driving trucks.

          For the next month, Sebern stated that he took photographs of mirrors on cars for Ron and Levandowski.
          He rented several vehicles to evaluate their mirror position and where the sensors and lasers on a self-
          driving vehicle should be mounted. In or about late December 2015 or early January 2016, Ron told Sebern
          they had started a new company involving self-driving trucks and asked him to join. Levandowski also
          encouraged him to join the start-up. In early 2016, Sebern was hired by Ottomotto as an engineer.

           Sebern stated that one former and one current Google contract employee contacted Sebern to learn more
           about the new company, and Sebern brought them to Levandowski's house to see the operations. Neither
           of these individuals ended up joining Otto motto.

          Following these meetings, Sebern stressed that if anyone from Google contacted him he would not speak
          with them about Ottomotto. Instead, he would "hand them off" to human resources. He reiterated that
           Ottomotto has a separate interview process for Google employees and that he has never seen Levandowski
           or Ron speaking with an applicant from Google.

                   2. FORENSIC EXAMINATION OF DEVICES
          Sebern's Apple iPhone was encrypted and thus Stroz Friedberg could not process or analyze this device.
          During his interview, Sebern provided Stroz Friedberg with a list of possible passwords, but none of them
          worked. Since Sebern's iPhone was encrypted, the only device that Stroz Friedberg could analyze was his
          MacBook Pro. There was virtually no data relating to Google or the subjects of our inquiry on Sebern's
          MacBook Pro with one possible caveat Stroz Friedberg found 36 "TempZip" files that appear to contain
          source code. Stroz Friedberg does not have the context to assess whether these source code are Google
           confidential information.

           It appears that the MacBook Pro was used to access an e-mail message on March 1, 2016 sent to
           colin@Ottomotto.com with the subject line "Junk King coming Tuesday 11am." See Exhibit 150.
           Interestingly, 57 gigabytes of additional free space became available on Sebern's MacBook Pro between
           March 23, 2016 and March 24, 2016, with approximately 900 files and folders being deleted on March 24,
           2016, just prior to his interview with Stroz Friedberg. We reviewed the deleted files by name and did not
           locate any that appeared to be Google-related. We also identified four external devices connected to his
           laptop between March 17 and March 24, 2016, but Sebern did not provide those to us for review. We did
           not find any evidence of relevant data copy or transfer.

           A more detailed forensic analysis of Sebern's devices and accounts is included in Stroz Friedberg's report
           as Exhibit 21 .




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY              31                              ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                      UBER00312480
                   Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 33 of 34
           PRIVILEGED AND CONFIDENTIAL



                      3. DOCUMENTS IDENTIFIED DURING STROZ FRIEDBERG'S REVIEW
           Sebern's relevant documents included the following, which do not appear to be of any great consequence


               •     2012 estimate to Google for Velodyne mounts (Exhibit 151);
               •     1/16/2016 offer letter from 280 Systems (Exhibit 152);
               •     1/21/2016 e-mail from Ron with pre-employment NDA (Exhibit 153);
               •     1/25/2016 - 1/26/2016 e-mail to Ron asking to discuss offer letter, outlining work he did on the
                     project over the weekend at Levandowski's request, and a discussion to set up time to talk (Exhibit
                     154);
               •     2/3/2016 e-mail to Levandowski regarding driver's list (those no longer employed and those who
                     might leave soon) (Exhibit 155); and
               •     4/1/2016 e-mail from Sebern with no entry in "To" field, but the body of which states, "They have
                     grabbed a handful of people from Chauffeur so far" (Exhibit 156).


           Many of Sebern's files were ordinary, business-related files that did not contain proprietary information.
           Many files that were administrative in nature, for example Slack account change of e-mail address forms,
           Fed Ex tracking links, invitations to trade events, PayPal payment confirmation, truck brochures, documents
           relating to 280 Systems, Inc, and NDAs. Sebern also had a few files related to his employment at Google,
           including his offer letter and an employment policy document. There also were many e-mails related to
           Sebern's hobby of classic auto restoration and racing. These documents triggered many false positive hits
           on keywords.

                            Pictures and Videos

           Sebern's potentially relevant pictures and videos consist of 1,231 files, including:


               •     GoPro video of self- driving vehicle test (Exhibit 157);
               •     Diagrams of car components (Exhibit 158); and
               •     Pictures of cars and car parts (Exhibit 159).

                            Source Code Files

           93 source code files came from Sebern's devices and accounts. However, given Stroz Friedberg's lack of
           context, we could not determine whether these files were related to Google self-driving cars or otherwise
           constituted Google confidential information.




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY                     32                           ~20 16   Stroz Fnedberg. All nghts reserved.



CONFIDENTIAL                                                                                                                          UBER00312481
               Case 3:17-cv-00939-WHA Document 1928-24 Filed 10/02/17 Page 34 of 34
           PRIVILEGED AND CONFIDENTIAL




                                               BOSTON

                                               CHICAGO

                                                   DALLAS

                                            HONG KONG

                                               LONDON

                                            LOS ANGE LES

                                            MINNEAPOLIS

                                             NEW YORK

                                          SAN FRANCISCO

                                               SEATTLE

                                         WASHINGTON, DC

                                                   Z URICH


                                    STROZ FRIEDBERG

                                         www.strozfriedberg.com

                                             W     @st rozf riedberg




           OUTSIDE COUNSEL & ATTORNEYS-EYES-ONLY     33                © 2016 Slroz Friedberg. All rights reserved.



CONFIDENTIAL                                                                                               UBER00312482
